     Case 1:18-cv-10646-MLW Document 216 Filed 05/10/23 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


HOPE COLEMAN, individually
and as the legal
representative of the ESTATE
of TERRENCE J. COLEMAN,
     Plaintiff,

             V.                             C.A. No. 18-10646-MLW


CITY OF BOSTON; BOSTON PUBLIC
HEALTH COMMISSION; WILLIAM EVANS,
individually and in his
supervisory capacity as the former
Commissioner of the Boston Police
Department; MICHAEL COX, in his
official capacity as the
Commissioner of the Boston Police
Department; SOPHIA DYER,
individually and in her official
and supervisory capacities as the
Medical Director for the Boston
Police Department and Boston
Emergency Medical Services; KEVIN
FINN, individually and in his
official capacity as a police
officer for the Boston Police
Department; GARRETT BOYLE,
individually and in his official
capacity as a police officer for
the Boston Police Department,
     Defendants.


                                ORDER


WOLF, D.J.                                              May 10, 2023

     For the reasons discussed at the May 5, 2023 hearing, it is

hereby ORDERED that:
        Case 1:18-cv-10646-MLW Document 216 Filed 05/10/23 Page 2 of 2




     1.       The parties shall, by May 29, 2023, report the minimum

time reasonably necessary to complete the depositions of Fed. R.

Civ. P. 30(b)(6) witnesses, which will end all fact discovery.

    2.        As agreed by the parties, plaintiff Hope Coleman shall

45 days after the final Rule 30(b)(6)                    witness deposition make

her expert witness disclosures. Defendants shall provide their

expert    disclosures       30   days    after    Coleman's     expert    disclosure

deadline.     All     parties'     rebuttal      expert   disclosures,      if   any,

shall    be    made    30   days    after     defendants'      expert     disclosure

deadline.     The     parties    shall    complete       all   expert    depositions

within 30 days of the rebuttal expert disclosure deadline.

    3.        Brody,    Hardoon,        Perkins,     &    Kesten,       LLP's    joint

representation of Garrett Boyle and Kevin Finn is permitted at

this time. Boyle or Finn shall file a motion, with supporting

memorandum of law, if he wishes to request a modification of the

Sequestration Order (Dkt. No. 153). Absent further order of this

court, Boyle and Finn shall not discuss matters involved in this

case with each other or any other potential witnesses.

    4.        The   parties shall order a           transcript of the May 5,

2023 hearing.




                                                 UNITED STATES DISTRICT JUSGE
